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18                                UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
20                                     SAN FRANCISCO DIVISION
21   WAYMO LLC,                                      Case No.   3:17-cv-00939-WHA
22                        Plaintiff,                 CERTIFICATE OF SERVICE [DKT.
                                                     NO. 1623]
23          v.
24   UBER TECHNOLOGIES, INC.,
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
25
                          Defendants.
26

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     CERTIFICATE OF SERVICE
     CASE NO. 3:17-CV-00939-WHA
     pa-1802533
      Case 3:17-cv-00939-WHA Document 1626 Filed 09/18/17 Page 2 of 3



 1                                    CERTIFICATE OF SERVICE

 2           I declare that I am employed with the law firm of Morrison & Foerster LLP, whose address
     is 2000 Pennsylvania Avenue, NW Suite 6000, Washington, D.C. I am not a party to the within
 3   cause, and I am over the age of eighteen years.

 4         I further declare that on this date, I served true and correct copies of the following
     documents:
 5
           DECLARATION OF MICHELLE YANG IN SUPPORT OF DEFENDANTS’
 6          ADMINISTRATIVE MOTION TO FILE UNDER SEAL THEIR OPPOSITION
            TO WAYMO’S MOTION FOR CONTINUANCE OF TRIAL DATE
 7
           [UNREDACTED] UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S
 8          OPPOSITION TO WAYMO’S MOTION FOR CONTINUANCE OF TRIAL
            DATE
 9
           [UNREDACTED] DECLARATION OF ARTURO J. GONZÁLEZ IN SUPPORT
10          OF DEFENDANTS’ OPPOSITION TO WAYMO’S MOTION FOR
            CONTINUANCE OF TRIAL DATE
11
           [UNREDACTED] EXHIBITS 1, 2, 3, 4, 5, 6, 7, 10, 11, 12, 13, 14, 15 AND 16 TO
12          THE DECLARATION OF ARTURO J. GONZÁLEZ IN SUPPORT OF
            DEFENDANTS’ OPPOSITION TO WAYMO’S MOTION FOR CONTINUANCE
13          OF TRIAL DATE

14    BY  ELECTRONIC SERVICE [Fed. Rule Civ. Proc. rule 5(b)] by electronically
        mailing a true and correct copy through Morrison & Foerster ’s electronic mail
                                                                              LLP
15            system to the e-mail address(es) set forth below, or as stated on the attached service
              list per agreement in accordance with Federal Rules of Civil Procedure rule 5(b).
16

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13
         Special Master
14

15          I declare under penalty of perjury that the foregoing is true and correct. Executed at

16   San Francisco, California, this 18th day of September, 2017.

17
                     Michelle Yang                                    /s/ Michelle Yang
18                      (typed)                                           (signature)

19

20

21                               ATTESTATION OF E-FILED SIGNATURE
22          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

23   Declaration. In compliance with General Order 45, X.B., I hereby attest that Michelle Yang has

24   concurred in this filing.

25   Dated: September 18, 2017                                /s/ Arturo J. González
                                                               ARTURO J. GONZÁLEZ
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     CERTIFICATE OF SERVICE
     CASE NO. 3:17-CV-00939-WHA
     pa-1802533
